                          UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                                EASTERN DIVISION
                               NO. 4:12-CR-00054-FL-1
                                   4:15-CV-187-FL




   UNITED STATES OF AMERICA

        v.                                                      NOTICE OF APPEAL

   NIGEL OMAR GRAY



       Pursuant to Rule 4(b) of the Federal Rules of Appellate Procedure, NOTICE IS HEREBY

GIVEN that the Defendant, Nigel Omar Gray, hereby appeals to the Fourth Circuit Court of

Appeals from the judgment entered in this court in the above-captioned case. As judgment was

entered by the Honorable Judge Louise Wood Flanagan on July 20, 2016, this notice is therefore

filed within the time specification established in Rule 4(b).

       Respectfully requested, this 3rd day of August, 2016.




                                              /s/ Sherri Royall Alspaugh
                                              SHERRI ROYALL ALSPAUGH
                                              Assistant Federal Public Defender
                                              Chief Trial Attorney
                                              Attorney for Defendant
                                              Office of the Federal Public Defender
                                              150 Fayetteville Street, Suite 450
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                                              E-mail: Sherri_Alspaugh@fd.org
                                              N.C. State Bar No. 17581
                                              LR 57.1 Counsel, Appointed
                                      CERTIFICATE OF SERVICE



       I HEREBY CERTIFY that a copy of the foregoing was served upon:

Barbara D. Kocher
Seth Morgan Wood
Assistant United States Attorney
Suite 800, Federal Building
310 New Bern Avenue
Raleigh, NC 27601-1461

by electronically filing the foregoing with the Clerk of Court on August 3, 2016, using the
CM/ECF system which will send notification of such filing to the above.

       This the 3rd day of August, 2016.


                                              /s/ Sherri Royall Alspaugh
                                              SHERRI ROYALL ALSPAUGH
                                              Assistant Federal Public Defender
                                              Chief Trial Attorney
                                              Attorney for Defendant
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